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                               UNITED STATES DISTRICT COURT
                                         FOR THE
                                   DISTRICT OF VERMONT


Joseph Spirit Cougar Lampman,

                Plaintiff,

                v.                                          Civil Action No. 2:24–cv–166

Nicholas Deml et al.,

                Defendants.


                                               ORDER

       Plaintiff Joseph Spirit Cougar Lampman, proceeding pro se and in forma pauperis, must pay

the statutory filing fee of $350.00. Lampman is obligated to make monthly payments in the amount

of 20% of the preceding month’s income credited to his prison trust account. The Vermont

Department of Corrections is required to collect from Lampman’s prison trust account each time the

amount exceeds $10.00 until the filing fee is collected in full and will then forward to the Clerk of

the Court. 28 U.S.C. § 1915(b)(2).

       Accordingly, it is hereby ORDERED that:

       The Commissioner of the Vermont Department of Corrections or his designee shall collect

payments from Lampman’s prison trust account and shall forward the $350.00 filing fee to the

Clerk of this Court in accordance with 28 U.S.C. § 1915(b)(2) when the entire filing fee has been

collected. The payments shall be clearly identified by the name and number assigned to this action.

       Dated at Burlington, in the District of Vermont, this 2nd day of April 2024.

                                                      /s/ Kevin J. Doyle             .
                                                      Kevin J. Doyle
                                                      United States Magistrate Judge
